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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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CHEVRON CORPORATION,

Plaintiff,

-against- 11 Civ. 0691 (LAK)

STEVEN DONZIGER, et al.,

Defendants,
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MEMORANDUM OPINION
Appearances:

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Steven R. Donziger

Defendant Pro Se and Attorney for Defendants Law Offices
of Steven R. Donziger and Donziger & Associates, PLLC

Lewis A, KAPLAN, District Judge.
This post judgment application arises out of the long-running battle between Steven

Donziger and Chevron Corporation (“Chevron”) that has filled hundreds and by now perhaps

 
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thousands of pages of the federal reports. The Court assumes familiarity with its decision on the
merits and that of the Court of Appeals affirming it.’ For present purposes, it suffices to note that
Donziger and others were found to have engaged in fraud in the procurement of a multibillion
Ecuadorian judgment against Chevron, to have carried on a years-long scheme to extort money from
Chevron, and much else. He now is subject to a permanent injunction that, among other things, (1)
enjoins him and others from secking to enforce the Ecuadorian judgment in the United States, (2)
requires him to convey to Chevron all of his right, title and interest in shares of Amazonia Recovery
Limited (“Amazonia”), a Gibraltar company formed to collect and distribute any proceeds of the
Ecuadorian judgment, and (3) forbids him from taking any action to monetize or profit from the
Ecuadorian judgment, including by selling, assigning, pledging, transferring or encumbering any
interest it. There also is an outstanding and unpaid supplemental judgment against him and in favor

of Chevron for more than $800,000 in costs.

IL Background
This Court found after trial that Donziger and others have been engaged in a years-long
fraudulent and extortionate scheme to obtain money from Chevron. A key —but by no means the only
—-~ part of that scheme is a multibillion dollar Ecuadorian judgment that they obtained by fraud and
bribery, among other misconduct.’ The judgment, since affirmed by the Court of Appeals, prevents

Donziger and the two other defendants who appeared at trial (the “LAP Representatives,” who were

 

Chevron Corp. v. Donziger, 974 F, Supp. 2d 362 (2014), aff'd, 833 F.3d 74 (2d Cir, 2016),
cert, denied, 137 5.Ct. 2268 (2017).

Chevron Corp., 974 F, Supp. 2d 362 passim.

 

 
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two of 47 plaintiffs in the Ecuadorian litigation) from enforcing the Ecuadorian judgment in the United
States or profiting from it in any way. In addition to the anti-enforcement injunction, it contains three
other provisions pertinent here:

° Paragraph 1 imposes a constructive trust on all property that Donziger has
received, or hereafter may receive, or to which Donziger now has, or hereafter
obtains, any right, title or interest that is traceable to the Ecuadorian judgment
or its enforcement anywhere in the world, “including, without limitation, all
rights to any contingent fee under [his] Retainer Agreement and all stock in
Amazonia {Recovery Limited] and required him to “transfer and forthwith
assign to Chevron all such property that he now has or hereafter may
obtain,”

° Paragraph 3 directed “Donziger [to] execute in favor of Chevron a stock power
transferring to Chevron all of his right, title and interest in his shares of
Amazonia, and” both “Donziger and the LAP Representatives . . . [to] execute
such other and further documents as Chevron reasonably may request or as —
the Court hereafter may order to effectuate the foregoing provisions of this
Judgment.”

° Paragraph 5 enjoined both Donziger and the LAP Representatives “from

undertaking any acts to monetize or profit from the [Ecuadorian] Judgment .

.. including without limitation by selling, assigning, pledging, transferring or

 

DI 1875, {] 1 (emphasis added).

fd. 13 (emphasis added).

 

 

 

 
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encumbering any interest therein.”

fL The Motion

On March 19, 2018, Chevron moved for an order (1) adjudicating Donziger in civil
contempt of court for failure to comply with paragraphs 3 and 5 of the judgment as to the Donziger
Defendants® (the latter paragraph insofar as Chevron alleges in its memorandum of law’ and in the
Grinberg declaration), and (2) granting Chevron leave to conduct post-judgment discovery of Donziger
and any other person, including without limitation Katie Sullivan, Streamline Family Office, Inc.,
Jonathan Bush, and athenahealth, inc., as to all matters relevant to the enforcement of paragraphs 3
and 5.

Thus, the contempt application — as originally filed — related to two distinct matters.
The first is Donziger’s alleged failure to comply with paragraph 3 of the judgment, which requires him
to execute in favor of Chevron a stock power transferring to Chevron all of his right, title and interest
in his shares of Amazonia. The second is Donziger’s alleged violation of paragraph 5, which enjoins
him from, inter alia, undertaking any acts to monetize or profit from the Ecuadorian judgment that
formed a significant part of this case, including by selling, assigning, pledging, transferring or
encumbering any interest therein. Chevron has offered evidence which, in its view, supports its

contention that Donziger violated paragraph 5 on one specific occasion involving Elliott Management

 

id. 45.

The term is defined as in the judgment in this case, DI 1875.

DI 1866, at 15,

 
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Corporation (“Elliott”). In addition, however, it seeks discovery in an effort to determine whether he

has engaged in similar alleged violations of paragraph 5 in other instances and, should it discover such

evidence, to expand the scope of its contempt application to include them.

2018.

The motion was briefed in the ordinary course. The Court held argument on May 8,

Hf, Contempt — Amazonia

Following the entry of the Ecuadorian judgment, Donziger and others formed

Amazonia for the purposes of collecting and distributing any proceeds of that judgment or any

settlement.* Donziger owns, directly or through a nominee, Amazonia shares through which money

is to be funneled to him if any is obtained.? The Court imposed a constructive trust on those shares

and directed Donziger, in paragraph 3 of the Judgment, to convey them to Chevron.”

Donziger does not deny that he did not comply with paragraph 3 of the Judgment

before the conclusion of the May 8, 2018 argument. He instead offered a series of excuses. But his

 

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Chevron Corp. v. Donziger, 974 F. Supp. 2d at 528 n.1110.

id. at 641,

Donziger did not comply with paragraph 3 upon entry of the judgment or at any time during
the pendency of appellate proceedings. Some time after the entry of the judgment, he sought
a stay pending appeal. The Court granted that application but only to the extent that it
temporarily modified paragraph 3 so that it required Donziger during the pendency of the
appeal to convey the Amazonia shares to the Clerk of this Court for appropriate disposition
at the conclusion of the appeal rather than to Chevron, DI 1901, at 32. Donziger never
complied with that direction. The Supreme Court denied certiorari on June 19, 2017. The
appellate process thus was concluded no later than that date and, perhaps, earlier. In any case,
the temporary modification of paragraph 3 lapsed no later June 19, 2017, whereupon the
original paragraph 3 of the judgment came back into effect.

 
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excuses lack even a semblance of merit.

First, he says that he wrote Chevron a letter seeking what Donziger calls “a common
sense resolution” of that part of the injunction and that Chevron never responded.’’ But the injunction
was a judgment of this Court that Chevron obtained after trial and that now has been affirmed on
appeal. It had no obligation to parley with Donziger about its terms and was fully entitled to stand on
its rights. No attempt to work out some alternate arrangement, let alone an attempt spurned by the
adversary, altered Donziger’s obligation to comply with this Court’s judgment.

Second, Donziger asserted — albeit not under oath — that he “is uncertain whether
Amazonia still exists and in what form.””? But it is impossible to see what difference that would make
even if one were to credit Donziger’s entirely unsubstantiated speculation. He is obliged to convey
all of his right, title and interest in the shares — whatever that right, title and interest may be and
regardless of whether it has any economic value. Ifthe company no longer exists, then the conveyance
by Donziger of all of his right, title and interest in shares perhaps would be of no practical
significance. But that is not for Donziger to decide, and it does not appear to be the case,

Chevron asserts that Amazonia —and its share capital - remain very much in existence:

“Donziger is wrong that Amazonia is defunct. Chevron sued Amazonia in Gibraltar

for fraud relating to the pursuit of the Lago Agrio litigation and resulting judgment.

After filing a defense, Amazonia failed to participate in the Gibraltar proceedings and

defaulted. On December 9, 2015, Chevron obtained judgment against Amazonia for

damages of approximately $28 million and equitable relief. Amazonia failed to pay

 

DI 1986, at 1-2.

fd. at 1.

 

 

 
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this judgment debt and the Gibraltar court granted Chevron’s application on July 11,
2016, placing Amazonia into liquidation. But as a matter of Gibraltar/English law,
arl3

Amazonia still exists, as does its issued share capital . .

Finally, Donziger contended that the onus was on Chevron to propose a form of stock

power and that it had not done so. But he was wrong. Paragraph 3 of the Judgment unambiguously

required Donziger to execute and deliver the stock power. It did not require Chevron to do anything

at all. Moreover, Donziger made abundantly clear to Chevron in his August 2014 letter that he would

 

DI 1987, at 4.

Were the current status of Amazonia material the Court would require proof beyond unsworn
statements in a memorandum, But it is not for reasons explaimed in the text. Nevertheless,
the Court notes the following:

First, Chevron in 2015 obtained a judgment against Amazonia for more than $28 million in
the Supreme Court of Gibraltar. Chevron Corp. v, Amazonia Recovery Ltd., No. 2014-C-110
(Gib. Sup. Ct. Dec. 9, 2015) (available at
http://www.gces. gov. gi/images/judgments/supremecourt/2015/chevron_corporation_v_ama
zonia_recovery_Itd_and_ors.pdf) (last visited May 15, 2018).

Second, assuming arguendo that a liquidator subsequently was appointed for Amazonia, the
liquidator appears to be obliged to take possession of and realize the assets of the company
and to distribute the assets and proceeds of realization, Gib. Insolvency Act 2011 § 176(1)
(available at http://www.gibraltarlaws.gov.gi/articles/2011-260.pdf) (last visited May 15,
2018). That apparently would include realizing upon any rights Amazonia may have to any
proceeds of enforcing the Ecuadorian judgment. Thus, while Amazonia may have been
insolvent if and when it was placed in liquidation, and may be today (Gib. Insolvency Act
2011 § 10(1)(b)(1} [company is insolvent if unable to pay its debts as they fall due]), a
liquidator perhaps could realize more on Amazonia’s assets, which appear to include the right
to receive any collections on the Ecuadorian judgment, than the total of Amazonia’s present
liabilities, Thus, it is possible that Donziger’s Amazonia shares have substantial economic
value. Indeed, as will appear, Donziger asserts that transfer of his Amazonia shares to
Chevron would result in his sustaining an “irretrievable loss,” obviously by depriving him of
the contingent fee he hopes to obtain by virtue of his ownership of the Amazonia shares,
notwithstanding this Court’s judgment.

 

 
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not comply with paragraph 3 of the Judgment.'* And he made his reason very clear:

“My clients have informed me, via the Directors of Amazonia, that if any transfer of

stock is effectuated by me to any entity, those shares will be divested immediately

under the by-laws of the entity that holds the shares. * * * The upshot is that a simple

transfer . . . of my Amazonia shares would in practice mean the complete

divestiture—and potentially irretrievable loss—ofmore than two decades of labor

on the part of me and some of my colleagues...”

In other words, it appears that Amazonia, whether it is in liquidation or not, still exists.
Donziger’s shares are the vehicle through which he seeks to be compensated in the millions or
hundreds of millions of dollars in the event that the Ecuadorian judgment ever is enforced anywhere
or the matter settled. He refused to part with his shares — the judgment of this Court notwithstanding
— because he believes that doing so “would ... mean the complete divestiture — and potentially
irretrievable loss” — of the massive contingent fee he hopes to collect. The fact, however, is that the
judgment in this case forbids him from benefitting in any way from the Ecuadorian judgment that he
obtained by fraud. His surrender of his right, title and interest in the Amazonia shares is but one of
several specific means by which the judgment seeks to ensure that result. Donziger simply may not
defy this Court’s judgment, affirmed by the Court of Appeals, by holding on to the Amazonia shares
in the hope, however faint, of a rich pay day down the road.

“A party may be held in civil contempt for failure to comply with a court order if (1)

the order the contemnor failed to comply with is clear and unambiguous, (2) the proof of

 

DI 1986-1,

fd. at 3 (emphasis added).

 

 
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noncompliance is clear and convincing, and (3) the contemnor has not diligently attempted to comply
in a reasonable manner.”

Paragraph 3 of the Judgment is clear and unambiguous. Noncompliance with it was
admitted. In any case, the evidence of noncompliance is clear and convincing. From the date the
judgment was entered, March 4, 2014, to and including the date of the argument of this motion, May

8, 2018, Donziger made no effort to comply. Indeed, his defiance has been brazen and deliberate.

Accordingly, the Court finds that Donziger was in civil contempt of this Court based

 

on his noncompliance with paragraph 3 of the Judgment. But subsequent developments require further

consideration inasmuch as the motion charges civil, not criminal, contempt."”

During the argument on May 8, 2018, the following occurred:

 

MR. DONZIGER: This is a fake issue. And if they want me to sign my shares
over, which they already have because this would be a public relations exercise for
them, I'm happy to do it. | am not going to sit here and be held in contempt over
something that's completely meaningless, when I'm here today ready to do that.

So tell me what you want me to do. He says he has something for me to sign.
Well, why hasn't he presented that to me? Where is it? I'm sitting here. He sent me

an email this morning looking for discovery. Why is he playing possum with me? To

 

Paramedics Electromedicina Comercial, Lida v. GE Med. Sys. Info. Techs., Inc., 369 F.3d 645,
655 (2d Cir, 2004) (internal quotation marks and citation omitted).

This would not be so in a prosecution for criminal contempt, as criminal contempt “is
completed when contumacious conduct has taken place... That is, once the subject of an
order willfully refuses to meet the court's order.” United States v. Marquando, 149 F.3d 36,
39-40 (Ist Cir. 1998).
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make me look foolish? Just give me the document you want me to sign.”"*

Shortly thereafter, Chevron’s counsel presented Donziger with what Chevron’s counsel described as
two share transfer forms relating “to the different shares of stock.”’? The Court indicated that it would
not decide the motion for at least 24 hours and asked that the parties advise it whether the Amazonia
aspect of the pending motion had become moot.”

Following the argument, Donziger claimed in a court filing that he executed and
notarized a Share Transfer Form.”' But that turned out to have been less than the whole truth. While
Chevron concedes that Donziger did execute one of the forms that Chevron had provided to him,”
Donziger added to the document a so-called Addendum of Understandings that states:

“Transferor executes the instant Share Transfer Form subject to the following

Understandings:

I. This Share Transfer form is being executed pursuant to an express

 

 

 

Tr,, May 8, 2018, at 29,

 

Id, at 36-37.
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fd.

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DI 2000.
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He did so on behalf of Donziger & Associates PLLC rather than on his own behalf. Although
Chevron has not commented on the discrepancy, Donziger previously testified that the
Amazonia shares were granted to him. Donziger Dep. Tr., June 25, 2013, at 632:3-9. Thus,
it is possible that the stock power was not executed on behalf of the owner of the shares. Any
such a determination, however, would require additional proof should it be material.

The Court notes in this regard that paragraph 3 of the judgment imposes the duty to execute
a stock power on “Donziger.” Paragraph 7.5 defines “Donziger” for purposes of the judgment
as “the Donziger Defendants, and each of them, unless the text hereof otherwise provides.”
“Donziger Defendants” is defined as Donziger, his PLLC, and The Law Offices of Steven
R. Donziger. Thus, Donziger and the PLLC both are obliged to comply with paragraph 3.
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order of judgment of the U.S. District Court for the Southern District
of New York in the Chevron Corp. v. Donziger ‘civil RICO’ case,
Case No. 1:11-cv-0691 (Dkt. 1875) (Kaplan, J.), and furthermore
under the specific threat of imposition of “contempt of court’ sanctions
if Transferor fails to execute this Form.

2. Chevron Corp. has previously represented to Transferor that the
AMAZONIA RECOVERY LIMITED entity has been ‘plac[ed] into
liquidation’ in Gibraltar after the entity ‘failed to participate in the
Gibraltar’ [sic] and subsequently ‘failed to pay’ a default judgment
entered by the Gibraltar court against it.

3. Transferor acknowledges that this Form is being executed
notwithstanding the terms and restrictions of paragraphs 37-38 of the
Articles of Association of AMAZONIA RECOVERY LIMITED,
which provide, inter alia, that ‘No transfer of any Shares shall be made
or tegistered without the prior consent of a majority of the Directors
(each acting in his or her absolute discretion)’ and that “Any purported
transfer in violation of these Articles shall be null and void.’

4, Transferor continues to take the position, which has been
communicated in writing to Chevron Corp. and to the U.S. District
Court, that the AMAZONIA RECOVERY LIMITED entity is null and
void for several reasons, including the fact that it has been taken over

and is now being manipulated by an adverse party to serve purposes

 
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(frustration of prompt relief to the affected peoples of Ecuador) that are
wholly contrary and opposite to the entity’s fundamental purposes as
express in its Memorandum of Association and other foundational
documents.”

Two things are readily apparent from Donziger’s addendum.

First, its obvious purpose is to seek to negate the transfer of Donziger’s Amazonia
shares to Chevron, either on the ground that the transfer was made under duress or is a nullity by
reason of Amazonia’s Articles of Association, or both. Thus, rather than simply signing an
unequivocal stock transfer form conveying all of his right, title and interest in the Amazonia shares
as required by the judgment in this case — and putting the lie to his May 8, 2018 representation to this
Court that “if they want me to sign my shares over, . . . I'm happy to do it” — he still seeks to retain the
shares by inviting Amazonia to reject the transfer document on at least two grounds.”

Second, his position is internally inconsistent. If, as Donziger claims, Amazonia
somehow is “null and void for several reasons,” then his shares could be of no present or future value
and there would be no coherent reason for declining to transfer unconditionally whatever interest, if

any, he retains in them. Nevertheless, Donziger’s execution of the stock power, albeit with the

attached addendum does have one effect.

 

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DI 2003-3.
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It is not clear that this attempt would succeed, especially if Amazonia m fact is in liquidation.
The appointment of a liquidator appears to have terminated all or most of the powers of the
directors of the company and to vest in the liquidator “fp]ower to do all acts and execute, in
the name and on behalf of the company, any deeds, receipts or other document.” Gib.
Insolvency Act 2011 8§ 165(1)(b), 177(2}) & Sched. 2,7. Thus, the liquidator, if there is
one, may well have the power to consent to or ratify the transfer of Donziger’s Amazonia
shares to Chevron, even assuming that the purported transfer restriction were valid.

 
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Paragraph 3 of the judgment required him to execute a stock power. It did not
prescribe a particular form. He now has executed a purported stock power, albeit in a form to which
Chevron understandably objects. In consequence, although there is no doubt whatever that Donziger
was in contempt of paragraph 3 from the date the judgment was entered on March 4, 2014 until May
9, 2018, the date on which he executed the form with the addendum, at this moment he arguably no
longer is in civil contempt based on the failure to comply with paragraph 3 because he ultimately
signed a stock power, As the purpose of civil contempt is to coerce compliance with a judgment of
order, imposition of civil contempt sanctions on the basis of the complete and absolute failure to
comply with paragraph 3 from March 4, 2014 until May 9, 2018 would be inappropriate.”

That of course is not to say that Chevron is without recourse. It is free to request that
Donziger execute a specific form of stock power without amendment or qualification and, should he
fail promptly to do so, to seek an order of this Court requiring that he comply. Any failure to comply

with any such order would be an appropriate subject of a new civil contempt motion.

Hi. Contempt — Alleged Monetization of the Ecuadorian Judgment

Paragraph 5 of the Judgment enjoined Donziger from, inter alia, undertaking any acts
to monetize or profit from the Ecuadorian judgment that formed a significant part of this case,
including by selling, assigning, pledging, transferring or encumbering any interest therein. Chevron
contends that Donziger violated paragraph 5 by seeking to induce Elliott to purchase a share of any

proceeds ultimately obtained through enforcement in foreign courts of the fraudulent Ecuadorian

 

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The Court does not now express any view as to whether Donziger should be prosecuted for
criminal contempt of paragraph 3 of the judgment based on his failure to comply with that
provision from March 4, 2014 until May 9, 2018.

 

 
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judgment. Its application is supported by a declaration of an Elliott portfolio manager that attests to
personal knowledge of relevant events.

Having reviewed the submissions, the Court has concluded that an evidentiary hearing
is appropriate with respect to this branch of the contempt motion, The hearing will commence on May

22, 2018 at 9:30 a.m. in Courtroom 21B.

IV, Discovery
This Court plainly has “ample authority to issue [discovery] orders necessary for the
enforcement of its order. Discovery may occur in connection with a pending contempt
proceeding[.])””* In all of the circumstances, Chevron’s application, insofar as it seeks leave to conduct
discovery with respect to Donziger’s compliance with the Judgment is granted. The timing of that
portion of the discovery sought by Chevron will be resolved in connection with Chevron’s

subsequently filed and now pending motion to compel compliance with its discovery requests.

V. Additional Contempt Claim
Ina letter dated May 11, 2018,”’ prompted in part by Donziger’s actions with respect
to the required transfer of his Amazonia shares, Chevron asserts that Donziger is in contempt also of
paragraph 1 of the judgment, which requires him to transfer and assign to Chevron all right, title and

interest that he now or hereafter obtains that is traceable to the Ecuadorian judgment “including,

 

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State of New York v. Shore Realty Corp., 763 F.2d 49, 53 (2d Cir, 1985); 28 U.S.C. § 1651.

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DI 2003.

 

 

 
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without limitation, all rights to any contingent fee under” his retainer agreement.”®
The claim that Donziger is in contempt of paragraph | of the judgment was not made
in the motion that now is before the Court. The Court therefore will not address it unless and until

Chevron files an appropriate motion.

VI Conclusion

Chevron’s motion [DI 1968] is disposed of in part as follows:

1. So much of the motion as seeks a civil contempt adjudication based on
violation of paragraph 3 of the judgment is denied without prejudice to further proceedings as
indicated above.

2. So much of the motion as seeks leave to conduct discovery with respect to
Donziger’s compliance with the Judgment is granted save that the timing of such discovery will be
resolved by subsequent order.

3. Decision on so much of the motion as seeks a civil contempt adjudication based
on alleged violation of paragraph 5 of the judgment relating to the Elliott events is reserved pending
a hearing. The hearing will commence on May 22, 2018 at 9:30 a.m.

SO ORDERED.

Dated: May 16, 2018

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Lewis A. plarY -
United States District Judge

 

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DI 1875,, J 1.

 
